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                    IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF TEXAS
                             MARSHALL DIVISION

  ADVANCED CODING TECHNOLOGIES
  LLC,                                        Civil Action No. 2:24-CV-00572-JRG
                                              (Lead Case)
                   Plaintiff,
                                              JURY TRIAL DEMANDED
  v.
                                              ORAL ARGUMENT REQUESTED
  APPLE INC.,

                   Defendant.




       DEFENDANT APPLE INC.’S MOTION TO DISMISS FOR IMPROPER VENUE
        OR ALTERNATIVELY TO TRANSFER TO THE NORTHERN DISTRICT OF
                               CALIFORNIA
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 I.      INTRODUCTION

         This case should be dismissed in its entirety pursuant to Rule 12(b)(3) of the Federal

 Rules of Civil Procedure and 28 U.S.C. § 1406(a) because venue is not proper in the Eastern

 District of Texas. Apple neither resides nor maintains a regular and established place of business

 in the District as required for venue under 28 U.S.C. § 1400(b). Apple has no offices or stores in

 the District, and no plaintiff suing Apple for patent infringement has established proper venue in

 the Eastern District of Texas since 2019 when Apple last had a place of business in the District.

         Plaintiff Advanced Coding Technologies LLC’s (“ACT”) alleged basis for venue in this

 District relates only to non-party retailer Best Buy, which—unlike Apple—has stores in the

 Eastern District of Texas. But Best Buy’s stores are places of business of Best Buy, not Apple.

 It is well established that the presence of third-party retailers alone in this District does not

 establish proper venue as to a supplier like Apple. Apple does not own or lease any space within

 Best Buy’s stores or otherwise exercise possession or control over Best Buy’s stores; Apple does

 not own any merchandise or fixtures within Best Buy’s stores; Best Buy sets the price for all

 Apple merchandise that it sells; and Apple does not advertise Best Buy’s stores as places of

 business of Apple. In fact, Best Buy can close locations without consulting Apple—and it has.

 And while Apple has no more than ten employees who demonstrate and answer questions about

 Apple’s products within Best Buy’s stores, such limited actions do not convert Best Buy’s stores

 into places of business of Apple. Indeed, those Apple employees do not complete any sales

 transactions or even have access to locked inventory within Best Buy’s stores. Given ACT’s

 deficient venue allegations, the proper remedy is dismissal.

         If the Court does not dismiss the case, it should, in the alternative, transfer the case under

 28 U.S.C. § 1404(a) to the Northern District of California. Not only does Apple reside there, but

 Apple employees with knowledge of the accused functionality and products are in that District,


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 as are their documentary and electronic records. Likewise, Apple’s employees work with

 California-based employees knowledgeable about the design and development of accused

 functionality in the chipsets that California-based Broadcom and Qualcomm supply to Apple.

 None of Apple’s or any third-party’s sources of proof are in the Eastern District of Texas.

 Finally, the Northern District of California is convenient for ACT because ACT’s managing

 director, Deepak Sharma—who is also sole owner and CEO of ACT’s California-based and

 ultimate parent Anjay Venture Partners, LLC— resides in the Northern District of California.

 II.    STATEMENT OF ISSUES

        1.      Whether the Court should dismiss this case under Rule 12(b)(3) of the Federal

 Rules of Civil Procedure and 28 U.S.C. § 1406(a) because ACT has not established that venue is

 proper in the Eastern District of Texas under 28 U.S.C. § 1400(b).

        2.      In the alternative, whether the Court should transfer this case to the Northern

 District of California for the convenience of the parties and witnesses and in the interests of

 justice under 28 U.S.C. § 1404(a).

 III.   FACTUAL BACKGROUND

        A.      The Parties

        Defendant Apple is a California corporation and is headquartered in Cupertino in the

 Northern District of California. Dkt. 1 ¶ 2; Ex. A.1 Apple designs, manufactures, and sells a

 wide range of consumer products, including the iPhone, iPad, iPod Touch, Apple Watch, and

 Mac, as well as software and services, including Safari, QuickTime, Apple TV+, iCloud, HTTP

 Live Streaming and Apple HomeKit Secure Video, which are all accused of infringement in this

 litigation. See Dkt. 1 ¶ 22. Apple sells its products through its website, directly to consumers in



 1
  Unless otherwise noted, citations to docket entries refer to the docket for lead case (No. 2:24-
 cv-572-JRG) in this consolidated action. Citations to docket entries for the second-filed case,
 No. 2:24-cv-687-JRG, are indicated by the case number (“-687”) preceding the docket number.
                                                  2
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 Apple Stores, and through third-party retailers and distributors. Apple has no Apple Stores in

 this District—and has not had one in the District since 2019. Decl. of Stephanie Dockendorf

 (“Dockendorf Decl.”) ¶ 14.

        ACT is a Texas company with a principal place of business at 104 East Houston Street,

 Suite 140, Marshall, Texas. Dkt. 1 ¶ 1. ACT is owned through a series of entities that trace back

 to ACT’s true owner in the Northern District of California. ACT’s sole managing member is

 Anjay Technology Partners LLC (“Anjay Technology”), which is also a Texas company with a

 principal place of business at the same physical location in Marshall as ACT, though in Suite

 180. Exs. B, D. Anjay Technology’s sole managing member, in turn, is Anjay Venture Partners

 (“Anjay Ventures”), which is a California company located in Cupertino, California. Exs. D, E.

 Mr. Deepak Sharma—the managing director of both ACT and Anjay Technology and the

 manager and CEO of Anjay Ventures—also resides in Cupertino. Exs. C, U, V.

        ACT had no involvement in the development of the purported inventions claimed in the

 asserted patents. See Dkts. 1-1 to 1-3. Instead, ACT was formed on February 15, 2022, Ex. B at

 1, and acquired the asserted patents in under two weeks. Ex. C at 19. ACT filed its first lawsuit

 only two months later in this District. Compl., Advanced Coding Techs., LLC v. ByteDance Ltd.,

 No. 22-cv-129, (E.D. Tex. Apr. 29, 2022) (Dkt. 1). ACT does not appear to engage in any

 business related to the asserted patents other than filing lawsuits.

        On July 22, 2024, ACT sued Apple, asserting infringement of U.S. Patent Nos.

 8,090,025, 9,986,303, and 10,218,995, which relate to video encoding and decoding as

 purportedly implemented in the AV1 video coding standard. Dkt. 1 ¶¶ 14-16; see also Dkts. 1-1

 to 1-3. On August 20, 2024, ACT filed a second lawsuit against Apple, asserting infringement of

 U.S. Patent Nos. 9,042,448, 8,230,101, 7,804,891, which relate to, respectively, video




                                                   3
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 encoding/decoding, technology purportedly implemented in the 5G and Wi-Fi 62 standards, and

 servers for storing and transmitting digital content. -687 Dkt. 1 ¶¶ 14-16; see -687 Dkts. 1-1 to

 1-3. The cases were consolidated on September 5, 2024. Dkt. 13 at 2-3.

           B.     ACT’s Allegations on Venue

           ACT’s identical venue allegations in both complaints identify no physical location within

 the Eastern District of Texas that is a regular and established place of business of Apple. See

 Dkt. 1 ¶¶ 2-10; -687 Dkt. 1 ¶¶ 2-10. Instead, the complaints rely entirely on “Best Buy locations

 in this District where Apple products are sold directly to customers.” Dkt. 1 ¶ 2; -687 Dkt. 1 ¶ 2.

 ACT alleges that “certain Best Buy locations within this District contain Apple Shops,” which

 Apple’s website describes as “Apple-designed outlets located within select Apple resellers and

 other retail stores.” Dkt. 1 ¶ 3; -687 Dkt. 1 ¶ 3. However, as the complaints recognize, these

 Apple Shops are part of Best Buy’s stores and are not Apple stores. For example, the complaints

 quote from Best Buy’s website that Apple Shops are “[n]ow open at a Best Buy near you” and

 that the Apple Shop is “our [i.e., Best Buy’s] store-within-a store for all things Apple.” Dkt. 1 ¶

 3; -687 Dkt. 1 ¶ 3. ACT does not allege that Apple owns or leases any space within Best Buy’s

 stores or otherwise exercises ownership or control over Best Buy stores. Indeed, Apple does not.

           ACT further alleges that Apple’s website states that “[m]any [Apple Shops] are staffed

 with Apple Solutions Consultants – trained Apple employees who can help you find the best

 solution.” Dkt. 1 ¶ 3; -687 Dkt. 1 ¶ 3. According to the complaints, these Apple employees

 working at Best Buy locations “provide information about Apple’s products to prospective

 customers” and they are “involved in the technology, sales, and marketing of its products.” Dkt.

 1 ¶ 10; -687 Dkt. 1 ¶ 10. ACT does not allege that Apple’s employees stock inventory, that they

 make sales, or that they exercise any control over Apple Shops in Best Buy stores or the Best


 2
     ACT first identified the Wi-Fi 6 standard in its preliminary infringement contentions.
                                                    4
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 Buy stores themselves. Indeed, Apple employees do not.

        Finally, ACT alleges that “certain Best Buy locations, including those located in this

 District, are ‘Apple Authorized Service Providers,’” where Apple products can be repaired. Dkt.

 1 ¶ 6; -687 Dkt. 1 ¶ 6. But as ACT describes, those services are performed by Best Buy

 employees, called “Geek Squad Agents.” Dkt. 1 ¶ 6; -687 Dkt. 1 ¶ 6. Both Best Buy and Apple,

 in fact, reassure customers that these Best Buy employees at Best Buy locations provide Apple-

 quality repair services. See, e.g., Dkt. 1 ¶ 6; -687 Dkt. 1 ¶ 6. (“Our Geek Squad® Agents are

 Apple-trained, so you can trust us with all your Apple devices at any Best Buy store near you.”);

 Dkt. 1 ¶¶ 8-9; -687 Dkt. 1 ¶¶ 8-9 (“[Y]ou get the same professionalism and quality of repair

 you’d expect from Apple.”).

        C.      Apple’s Relationship with Best Buy

        Apple and Best Buy entered into a




                . Ex. F. Nothing in the                     provides Apple control over the Best

 Buy stores or the Apple Shops within them. See generally Exs. F-J.

        Apple and Best Buy also entered into an



                        Ex. G §     ACT’s venue allegations depend entirely on these

                                       or “Apple Shops” in Best Buy’s stores. Id.

        As reflected in that                                    and, in practice, Apple Shops are

 part of Best Buy’s stores, and are owned and operated solely by Best Buy. The Apple Shops

 provide a dedicated space with Apple’s logo and branding on shelving and display cases where

 Best Buy sells Apple products. See Dockendorf Decl. ¶ 5. Best Buy determines where the


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 Apple Shop is located within Best Buy’s stores. Dockendorf Decl. ¶ 9; see Ex. G §§



                                      . Best Buy owns all merchandise, demonstration units, and

 fixtures in each Apple Shop. Ex. G §             ; Ex. F §   ; Dockendorf Decl. ¶¶ 8, 12. Best

 Buy decides what Apple products to order and how to allocate that inventory to individual stores.

 Decl. of Jack Leslie (“Leslie Decl.”) ¶¶ 3-4; see also Ex. F § . Title passes to Best Buy upon

 shipment from Apple’s shipping location. Leslie Decl. ¶ 5; Ex. F §        . Best Buy also sets the

 prices for the products sold in the Apple Shop, manages the inventory, establishes the hours of

 operation, and staffs its store (including the Apple Shop) with Best Buy employees who

 complete all sales transactions. Decl. of Stephanie Calhoun Jemmings (“Calhoun Jemmings

 Decl.”) ¶¶ 9-10, 12; Dockendorf Decl. ¶ 12; see also Ex. G §       .



                                                                               . See, e.g., Ex. G

 §§        . Best Buy reviews and authorizes any contractor who installs the fixtures for the

 Apple Shops in Best Buy’s stores. Id. ¶ 10. Best Buy

                                                , Ex. G §     and Best Buy can close its stores,

 including those with Apple Shops, without consulting Apple—as it has done dozens of times in

 the past three years. Dockendorf Decl. ¶ 13.

        Ten Apple employees work within Best Buy’s stores in the Eastern District of Texas,

 with no more than two Apple employees at any particular Best Buy Location. Calhoun

 Jemmings Decl. ¶ 5. They are not present at all times that Best Buy’s stores are open; in fact,

 most work only Friday through Sunday. Id. ¶ 6. None of these Apple employees has a role in

 the management or operation of Best Buy’s stores. Id. ¶ 4. Nor do they complete any sales

 transactions, or have access to the store’s cash registers, locked inventory, or Best Buy’s


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 computer systems for checking inventory. Id. ¶¶ 9-10. Instead, these Apple employees engage

 with Best Buy’s employees and customers to educate them about Apple’s products, advocate for

 Apple’s brand, and help customers find the Apple product that best suits their needs. Id. ¶ 7; see

 Ex. J §        . Best Buy can remove Apple’s employees from its stores without consulting Apple.

 Calhoun Jemmings Decl.¶ 12. And Apple also does not require its employees to live within the

 District, and indeed, some travel outside the District for their job.

           D.       The Vast Majority of Apple’s and Third-Party Witnesses and
                    Documents Are in California

           The Apple employees and third-party employees most knowledgeable about each of the

 accused functionalities implicated by ACT’s infringement allegations are located in California.

 Specifically, the Apple technical witnesses knowledgeable about the video decoding

 functionality implemented in the AV1 video coding standard at issue in four of the six asserted

 patents, are located primarily in the Northern District of California and elsewhere in California:

    •      Guy Cote



                                                                                                .

           Decl. of Guy Cote (“Cote Decl.”) ¶¶ 1, 3.

 Likewise for the functionality at issue in the fifth patent (the ’891 patent), the Apple technical

 witnesses responsible for integration of the 5G and Wi-Fi 6 technology supplied by Qualcomm

 and Broadcom and the third-party witnesses knowledgeable about that technology are located

 primarily in the Northern District of California and elsewhere in California:

    •      Muthukumaran Dhanapal




                                                                                 . Decl. of

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        Muthukumaran Dhanapal (“Dhanapal Decl.”) ¶¶ 1, 3.

    •   Tushar Shah




                 . Decl. of Tushar Shah (“Shah Decl.”) ¶¶ 1, 3.

    •                                                     California-based employees from

        Qualcomm, which is headquartered in San Diego and designed and developed the LDPC

        functionality in the Qualcomm baseband chipsets. Dhanapal Decl. ¶ 5; Ex. K.

    •                                                 California-based employees from Broadcom,

        which is headquartered in the Northern District of California and designed and developed

        the LDPC functionality in the Broadcom Wi-Fi 6 chipsets. Shah Decl. ¶ 5; Ex. L.

 Finally, the Apple technical witnesses knowledgeable about the functionality at issue in ACT’s

 sixth patent (the ’101 patent) are located primarily in the Northern District of California and

 elsewhere in California:

    •   Keith Rauenbuehler




                                              . Decl. of Keith Rauenbuehler (“Rauenbuehler

        Decl.”) ¶¶ 1, 3.

    •   Leland Wallace




                                                                      . Decl. of Leland Wallace

        (“Wallace Decl.”) ¶¶ 1, 3.


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     •      Roger Pantos



                              . Decl. of Roger Pantos (“Pantos Decl.”) ¶¶ 1, 3.

 Members of each of these technical teams working on the accused functionality are primarily

 located in Cupertino and elsewhere in California. Cote Decl. ¶ 4; Dhanapal Decl. ¶ 4; Shah

 Decl. ¶ 4; Rauenbuehler Decl. ¶ 4; Wallace Decl. ¶ 4; Pantos Decl. ¶ 4. Critically, Apple’s

 investigation has not identified any Apple or third-party technical witnesses in the Eastern

 District of Texas—or even any current team members of the relevant technical teams in Texas.3

 Cote Decl. ¶¶ 4-6; Dhanapal Decl. ¶¶ 4-6; Shah Decl. ¶¶ 4, 6; Rauenbuehler Decl. ¶¶ 4-6;

 Wallace Decl. ¶¶ 4-6; Pantos Decl. ¶¶ 4, 6.




                                                                . Cote Decl. ¶¶ 4, 6; Dhanapal

 Decl. ¶¶ 4, 6; Shah Decl. ¶¶ 4, 6; Rauenbuehler Decl. ¶¶ 4, 6; Wallace Decl. ¶¶ 4, 6; Pantos Decl.

 ¶¶ 4, 6.



                                                                                                . Cote

 Decl. ¶¶ 4-6; Dhanapal Decl. ¶¶ 4-6; Shah Decl. ¶¶ 4, 6; Rauenbuehler Decl. ¶¶ 4-6; Wallace

 Decl. ¶¶ 4-6; Pantos Decl. ¶¶ 4-6.

            The Apple witnesses knowledgeable about Apple’s patent licensing practices—




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                          —are located in and around Cupertino, California (and not in Texas).

 Decl. of Brian Ankenbrandt (“Ankenbrandt Decl.”) ¶¶ 1, 4-6, 9.




                                                                                 . Id. ¶¶ 7-8.

 IV.    LEGAL STANDARD

        On a motion to dismiss for improper venue, “the burden of sustaining venue lies with the

 plaintiff.” Tiare Tech., Inc. v. Dine Brands Glob., Inc., No. 22-cv-490-JRG-RSP, 2024 WL

 607407, at *3 (E.D. Tex. Jan. 4, 2024) (quotation omitted). “A plaintiff may carry its burden by

 presenting facts, taken as true, that establish venue.” Id. “In determining whether venue is

 proper, the Court may look beyond the complaint to evidence submitted by the parties.” Id.

 (quotation omitted). While the Court must accept well-pleaded allegations as true and resolve all

 conflicts in favor of the plaintiff, the Court “need not credit conclusory allegations.” AlexSam,

 Inc. v. Simon Prop. Grp. (Tex.), L.P., No. 19-cv-331-JRG, 2021 WL 9816147, at *1 (E.D. Tex.

 Aug. 19, 2021). “When unsubstantiated allegations are controverted by affidavit or declaration,

 the affidavit or declaration trumps the allegation.” Id. (quotation omitted).

        To succeed on a motion for change of venue for convenience, the moving party “must

 satisfy the statutory requirements and clearly demonstrate that a transfer is ‘[f]or the convenience

 of parties and witnesses, in the interest of justice.’” In re Volkswagen of Am., Inc., 545 F.3d 304,

 315 (5th Cir. 2008) (“Volkswagen II”) (alteration in quote); see also In re Clarke, 94 F.4th 502,

 508 (5th Cir. 2024) (placing burden on movant “to ‘adduce evidence and arguments’” supporting

 transfer) (quotation omitted). Though the district court has discretion to grant or deny the motion

 to transfer, its analysis must be “rooted in record evidence.” In re TikTok, Inc., 85 F.4th 352,

 360 (5th Cir. 2023); see also Stewart Org., Inc. v. Ricoh Corp., 487 U.S. 22, 29 (1988).


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 V.     ARGUMENT

        A.      ACT’s Consolidated Cases Should Be Dismissed In Their Entirety For
                Improper Venue

        The “sole and exclusive provision controlling venue in patent infringement actions” is 28

 U.S.C. § 1400(b). TC Heartland LLC v. Kraft Foods Grp. Brands LLC, 581 U.S. 258, 266

 (2017). Section 1400(b) is more restrictive than the general venue provisions of 28 U.S.C.

 § 1391(c) and limits venue in patent cases to “the judicial district where the defendant resides, or

 where the defendant has committed acts of infringement and has a regular and established place

 of business.” 28 U.S.C. § 1400(b). Under § 1400(b), a defendant “resides” only in its state of

 incorporation. TC Heartland, 581 U.S. at 268. As ACT acknowledges (Dkt. 1 ¶ 2; -687 Dkt. 1 ¶

 2), Apple is a California corporation and does not reside in the Eastern District of Texas. ACT

 therefore relies exclusively on the second prong of § 1400(b) for venue—Apple’s purported

 “regular and established place of business.”

        The Federal Circuit applies “three general requirements” relevant to whether an entity has

 a regular and established place of business: “(1) there must a be physical place in the district; (2)

 it must be a regular and established place of business; and (3) it must be the place of the

 defendant.” In re Cray Inc., 871 F.3d 1355, 1360 (Fed. Cir. 2017). It is the plaintiff’s burden to

 show that these requirements are met. In re ZTE (USA) Inc., 890 F.3d 1008, 1013 (Fed. Cir.

 2018). And “the Supreme Court has cautioned against a broad reading of the venue statute” so

 as to give effect to “the clear intent of Congress in enacting the statute to restrict venue.” In re

 Google LLC, 949 F.3d 1338, 1346-47 (Fed. Cir. 2020) (collecting cases). If any of these three

 requirements for demonstrating a regular and established place of business of the defendant is

 not met, “venue is improper under § 1400(b).” Cray, 871 F.3d at 1360.




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                1.      ACT has not pleaded facts showing any regular and
                        established place of business “of the defendant” in this District

        Apple has no regular and established place of business in the Eastern District of Texas,

 and ACT has not alleged facts sufficient to carry its burden on this issue. The statutory

 requirement that “‘the regular and established place of business’ must be ‘the place of the

 defendant’” is dispositive. Cray, 871 F.3d at 1363.

        Apple has not had any stores in the District for over four years. Dockendorf Decl. ¶ 14.

 Neither complaint identifies any place of business of Apple in the District, and instead both rely

 exclusively on “Best Buy locations in this District” to plead venue. Dkt. 1 ¶ 2; -687 Dkt. 1 ¶ 2.

 See generally Dkt. 1 ¶¶ 2-10; -687 Dkt. 1 ¶¶ 2-10. But those are “Best Buy locations”—not

 Apple locations. Dkt. 1 ¶ 2; -687 Dkt. 1 ¶ 2. It is well established that “a distributor’s place of

 business cannot establish venue for its supplier” under § 1400(b), especially where the supplier

 has no control over the distributor’s place of business or within that place the supplier’s products

 are sold. EMED Techs. Corp. v. Repro-Med Sys., Inc., No. 17-cv-728-WCB-RSP, 2018 WL

 2544564, at *2 (E.D. Tex. June 4, 2018) (collecting cases). Accepting ACT’s position that third-

 party retailers like Best Buy may establish venue for product manufacturers “would largely

 overturn the decisions in TC Heartland and Cray, converting the test for venue in patent cases

 into one similar to the test for personal jurisdiction,” id. at *3, which is exactly what the Federal

 Circuit has warned against, see Cray, 871 F.3d at 1361 (instructing courts “not to conflate

 showings that may be sufficient for . . . personal jurisdiction or the general venue statute” with

 those necessary “to establish proper venue in patent cases.”).

        The Federal Circuit has provided a non-exhaustive list of “considerations” for evaluating

 whether a location is “the place of the defendant.” Those considerations include (1) “whether the

 defendant owns or leases the place, or exercises other attributes of possession or control over the

 place”; (2) “whether the defendant conditioned employment on an employee’s continued

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 residence in the district or the storing of materials at a place in the district so that they can be

 distributed or sold from that place”; (3) “whether the defendant lists the alleged place of business

 on a website, or in a telephone or other directory; or places its name on a sign associated with or

 on the building itself”; and (4) “the nature and activity of the alleged place of business of the

 defendant in the district in comparison with that of other places of business of the defendant in

 other venues.” Cray, 871 F.3d at 1363-64.

         These considerations overwhelmingly demonstrate that Best Buy’s stores are not places

 of business of Apple. Indeed, another court has already rejected the basis for ACT’s venue

 allegations—i.e., that Best Buy stores that sold the defendant Samsung’s products in a Samsung-

 branded section of the store qualified as “the place of the defendant.” See Int’l Techs. & Sys.

 Corp. v. Samsung Elecs. Co., No. 17-cv-1748-DOC, 2018 WL 4963129, at *7 (C.D. Cal. June

 22, 2018). This Court should reach the same conclusion here.

                         (a)     Apple does not own or lease any space in Best Buy’s stores, or
                                 otherwise exercise possession or control over Best Buy’s stores

         The physical space within Best Buy’s stores, including where the accused products are

 sold, is owned and controlled by Best Buy. Apple does not own or lease space in Best Buy’s

 stores. Dockendorf Decl. ¶ 7. All fixtures and merchandise within those stores are Best Buy’s

 property, and Best Buy controls the process for installing any fixtures in its stores, including the

 ultimate decision as to where to locate those fixtures within its stores. Id. ¶¶ 8-11; Ex. G §



                                            , §§

                                                                                     , §§



                                                                 . As a result, Best Buy bears full

 responsibility for losses within its stores (e.g., theft or personal injury). Dockendorf Decl. ¶ 8;

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 Ex. G §              ; Ex. F §

                                            . Because Apple has no ownership or control over Best

 Buy’s stores, Best Buy can close its stores permanently without consulting Apple, including

 those with Apple Shops. Dockendorf Decl. ¶ 13. Best Buy has done so dozens of times within

 the last three years, including one location (Lufkin) in the District. Id.

        Apple also does not exercise control over operations at Best Buy’s stores. Apple does not

 manage the inventory within Best Buy’s stores. Leslie Decl. ¶ 3. When Best Buy orders

 Apple’s products, Best Buy typically does not identify a particular store to receive that inventory,

 and Apple ships its products to one of six Best Buy distribution centers—none of which is

 located in this District. Id. Best Buy—not Apple—is then responsible for getting Apple’s

 products from its distribution centers to Best Buy’s stores in this District. Id. Even when Best

 Buy occasionally asks Apple to ship products to a Best Buy store directly, those shipments are

 initiated at Best Buy’s request and become Best Buy’s property as soon as they leave Apple’s

 warehouses. Id. ¶¶ 4-5; Ex. F §      . Best Buy provides security for its stores. Dockendorf Decl.

 ¶ 8. Best Buy sets the hours of operation for its stores and the prices of the Apple products that it

 sells. Id. ¶ 12; Calhoun Jemmings Decl. ¶¶ 9, 12; see also Ex. G §       . And Apple does not

 complete any sales transactions or repair any products at Best Buy’s stores. Calhoun Jemmings

 Decl. ¶¶ 9, 11; see also Dkt. 1 ¶¶ 6, 8-9 (alleging Apple and Best Buy advertise that Best Buy

 employees repair Apple products at Best Buy locations).

        ACT alleges that there are “Apple-designed outlets” within Best Buy’s stores called

 “Apple Shops.” Dkt. 1 ¶ 3; -687 Dkt. 1 ¶ 3. But those allegations simply refer to the fact that

 Apple designs and provides fixtures that third-party retailers can use for displaying Apple’s

 products within their stores. For example, Apple has standardized Apple-branded tables and

 displays for its products that it provides to third-party retailers. Dockendorf Decl. ¶¶ 4-5. Those


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 Apple-branded fixtures are not specific to Best Buy or any particular Best Buy location. Id. ¶ 4.

 Apple has requirements for where those Apple-branded fixtures can be installed to ensure that

 retailers use Apple-branded fixtures in a consistent manner. Id. ¶ 9. But it is ultimately up to

 Best Buy to identify a location within its stores to install those fixtures using contractors

 authorized by Best Buy. Id. ¶¶ 9-10; see Ex. G §§            . Once installed, those fixtures are

 Best Buy’s property that Best Buy controls. Dockendorf Decl. ¶ 8; Ex. G §          . Best Buy

                                 . Ex. H at                                            . While Apple

 provides routine maintenance for those fixtures (e.g., to repair a damaged display case), Best Buy

 requires that Apple use only Best Buy-approved vendors to do that work. Dockendorf Decl.

 ¶ 11. And in any event, such maintenance does not constitute the “conduct of business in the

 sense of production, storage, transport, and exchange of goods or services” required under the

 venue statute. See Google, 949 F.3d at 1347.

        ACT also alleges that “Apple employees” called “Apple Solutions Consultants” work

 within Best Buy’s stores in the District. Dkt. 1 ¶ 3; -687 Dkt. 1 ¶ 3. But the mere presence of

 Apple employees within the District does not satisfy the statutory requirements for venue, which

 focus on control over a physical location, not on who is at that location. See Cray, 871 F.3d at

 1363 (“As the statute indicates, it must be a place of the defendant, not solely a place of the

 defendant’s employee.”). Similarly, this Court recently found that venue was not proper in

 4WEB, Inc. v. NuVasive, Inc., even though plaintiff 4WEB alleged that defendant NuVasive’s

 employees conducted business “including sales, marketing, sales operations, logistics,

 regulatory, quality control, research and development (when surgeons are engaged as

 consultants), training and education and finance” at various hospitals and surgery centers in the

 district and had to live close enough to commute to those hospitals and surgery centers. No. 23-

 cv-00192-JRG, 2024 WL 1932416, at *1-2 (E.D. Tex. May 2, 2024). The court reasoned that


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 “NuVasive (1) does not own or lease any place in this District, (2) has not represented that it has

 a place of business in this District, and (3) conducts its business in San Diego, California.” Id. at

 *3. The court further emphasized that plaintiff “fail[ed] to point to any ‘place’ (e.g., a building, a

 storage room, a table, or a leased shelf) in the hospitals, surgery centers, or anywhere else in this

 District over which NuVasive exercises possession and control.” Id. at *4.

        Venue is improper here for the same reason as in 4WEB. The complaints contain no

 allegations that Apple’s employees exercise possession or control over Best Buy’s stores, and if

 anything, the actual role of these employees reinforces Apple’s lack of possession or control over

 those stores. See Dkt. 1 ¶¶ 3, 7, 10; -687 Dkt. 1 ¶¶ 3, 7, 10. As an initial matter, currently only

 ten Apple employees work within Best Buy’s stores in the District—with no more than one or

 two Apple employees at any particular Best Buy location. Calhoun Jemmings Decl. ¶ 5. Apple

 employees are not present at all times that Best Buy’s stores are open; in fact, most work only

 Friday through Sunday. Id. ¶ 4 (explaining Lead ASCs cover multiple locations), ¶ 5 (explaining

 “Specialists” work part-time). That limited and part-time presence of Apple employees

 alongside the larger and permanent presence of Best Buy’s own employees underscores that

 Apple Shops are not a place of business of Apple. See Calhoun Jemmings Decl. ¶¶ 9-12;

 Fractus, S.A. v. ZTE Corp., No. 17-cv-00561-JRG, 2018 WL 11363369, at *2 (E.D. Tex. Sept.

 28, 2018) (holding that the presence of two of defendant’s employees at a call center three to

 four days per week working from a visitor office space “not exclusively used” by defendant did

 not make the call center a place of the defendant). Best Buy has complete control over who can

 be present within its stores, and Best Buy has the right to remove Apple’s employees from Best

 Buy’s stores if Best Buy deems it necessary. Calhoun Jemmings Decl. ¶ 12.

        Apple’s employees also do not have any role in the operation of Best Buy’s stores.

 While at Best Buy, Apple’s employees provide information about Apple’s products to


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 prospective customers. Calhoun Jemmings Decl. ¶ 7; see also Dkt. 1 ¶ 3 (“Many are staffed with

 Apple Solutions Consultants – trained Apple employees who can help you find the best

 solution.”); -687 Dkt. 1 ¶ 3. But Apple’s employees are not involved in the management or

 operation of Best Buy’s stores, and they do not exercise any control over Best Buy’s employees.

 Calhoun Jemmings Decl. ¶¶ 4, 8. Apple’s employees do not complete any sale transactions with

 customers or even have access to cash registers. Id. ¶ 9. Apple’s employees do not manage

 inventory, set prices for Apple’s products, or have access to locked inventory or Best Buy’s

 inventory systems. Id. ¶¶ 9-10. And Apple’s employees do not perform product repairs. Id.

 ¶ 11. Best Buy’s employees perform those functions exclusively (id. ¶¶ 4, 8, 9-11), consistent

 with the fact that Best Buy’s store are places of business of Best Buy, not Apple.

        This case thus presents the same issue as 4WEB and is distinguishable from situations

 where this Court has found proper venue based on the defendant’s exercise of ownership and

 control over a retail location. For example, in Tinnus Enterprises, LLC v. Telebrands Corp., the

 court found that venue properly lay in the district where defendant leased space on store shelves;

 held that space out as its own; and actively managed inventory at retail locations, including by

 paying agents “to monitor, clean, restock, and affix price signage.” No. 17-cv-00170-RWS,

 2018 WL 4560742, at *5-6 (E.D. Tex. Mar. 9, 2018). By contrast, Apple neither pays for space

 nor manages inventory at Best Buy’s store (Dockendorf Decl. ¶ 7; Leslie Decl. ¶ 3), and the

 complaints do not allege otherwise. Instead, Best Buy manages the inventory,

       , and sets its prices. Leslie Decl. ¶¶ 3-4; Calhoun Jemmings Decl. ¶¶ 9-10; Dockendorf

 Decl. ¶ 12; Ex. G §    ; Ex. H at                                          . Apple also identifies

 these Apple Shops as being part of and controlled by Best Buy. Infra Section V.A.1.(c); see also

 Dkt. 1 ¶ 3; -687 Dkt. 1 ¶ 3. Because Apple does not own or exercise control over Apple Shops

 within Best Buy stores, the presence of Apple employees there does not make Best Buy or the


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 Apple Shops a place of business of Apple. 4WEB, 2024 WL 1932416, at *4.

                        (b)     Apple does not require its employees to live in the District or to
                                store materials to be distributed or sold within the District

        The second consideration outlined in Cray (i.e., “whether the defendant conditioned

 employment on an employee’s continued residence in the district or the storing of materials at a

 place in the district so that they can be distributed from that place,” 871 F.3d at 1363) is

 primarily relevant to assessing whether an employee’s home constitutes a place of business of

 the defendant. See, e.g., Uniloc USA, Inc. v. Nutanix, Inc., No. 17-cv-00174-JRG, 2017 WL

 11527109, at *3-4 (E.D. Tex. Dec. 6, 2017) (addressing whether employees’ homes are the

 defendants’ places of business). ACT has made no such allegation here. See Dkt. 1 ¶¶ 2-10; -

 687 Dkt. 1 ¶¶ 2-10. However, to the extent relevant, this factor favors finding venue improper.

 Apple does not dictate that its employees live within the District. Calhoun Jemmings Decl. ¶ 13.

 Nor do Apple employees store materials to be distributed or sold at Best Buy’s stores within the

 District. Id. ¶ 7. Compare IOT Innovations LLC v. Monitronics Int’l, Inc., No. 2:22-CV-0432-

 JRG-RSP, 2023 WL 6318049, at *4 (E.D. Tex. Sept. 11, 2023), report and recommendation

 adopted, 2023 WL 6300560 (E.D. Tex. Sept. 27, 2023) (finding venue was proper when

 defendant’s employees “store a leased vehicle and tens of thousands of dollars of [defendant’s]

 equipment at their homes . . . [to] take[] directly to customer locations for installation and

 servicing” by those same employees). Instead, Best Buy controls and owns its inventory of

 Apple products, as well as the demonstration models of Apple products. Calhoun Jemmings

 Decl. ¶¶ 7, 10; Ex. F §§       ; Ex. G §      . To be sure, Apple requires that its employees

 spend time at Best Buy locations within the District. Id. ¶ 13. But the venue statute requires a

 place of business of the defendant, not merely the presence of the defendant’s employees. Cray,

 871 F.3d at 1363. As discussed above (infra pp. 8-12), Apple does not exercise sufficient

 possession or control over Best Buy’s stores to make those stores a place of business of Apple.

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                        (c)     Apple does not hold out Best Buy’s stores as places of business of
                                Apple

        Apple does not list Best Buy’s stores as a place of business of Apple on Apple’s website

 or on any signage associated with those stores. ACT points to the store locator feature on

 Apple’s website, which identifies Best Buy locations in the District where Apple products are

 sold. Dkt. 1 ¶ 3; -687 Dkt. 1 ¶ 3. But as the screenshots included in the complaints show,

 Apple’s website clearly and unmistakably identifies those locations as third-party retailers (e.g.,

 “Best Buy - 0202”), not as locations of Apple. Id. This District has squarely held that this type

 of website listing does not demonstrate that third-party retailer locations are places of business of

 the defendant. See AptusTech LLC v. Trimfoot Co., No. 19-cv-00133-ALM, 2020 WL 1190070,

 at *4 (E.D. Tex. Mar. 12, 2020) (“[Defendant] listed stores within the district on its website

 under a ‘store locator’ tab. However, the locations all have the names of the independent retailers

 on them. The website listings do not indicate that they are [defendant’s] stores. Thus, [defendant]

 does not attempt to hold these stores out as its own on its website.”).

        As the complaints note, Apple’s website identifies that “certain Best Buy locations within

 this District contain Apple Shops.” Dkt. 1 ¶ 3; -687 Dkt. 1 ¶ 3. But the “Apple Shop” label does

 not mean the location is a place of business of Apple. Indeed, Apple’s website explains that

 Apple Shops are located “within select Apple resellers and other retail stores.” Dkt. 1 ¶ 3; -687

 Dkt. 1 ¶ 3. Consistent with this, the complaints explicitly allege that certain Best Buy locations

 “contain Apple Shops” and include an image of Apple’s website identifying the Apple Shop as

 part of “Best Buy,” where customers can find an Apple Watch through an “Apple Authorized

 Reseller.” Dkt. 1 ¶ 3; -687 Dkt. 1 ¶ 3.

        Best Buy’s website reinforces that Apple Shops are part of Best Buy. The excerpt of

 Best Buy’s website reproduced in the complaints states the Apple Shop is “[n]ow open at a Best

 Buy near you” and describes the Apple Shop as “our [i.e., Best Buy’s] store-within-a store for all

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 things Apple.” Dkt. 1 ¶ 4; -687 Dkt. 1 ¶ 4. Apple Shops plainly are not a place of business of

 Apple when neither Apple nor Best Buy holds out those locations as places of Apple. See Cray,

 871 F.3d at 1363 (“Marketing or advertisements also may be relevant, but only to the extent they

 indicate that the defendant itself holds out a place for its business.”); 4WEB, 2024 WL 1932416,

 at *3 (finding defendant’s “surgeon locator tool” did not serve to ratify hospitals or surgery

 centers as place of defendant when it “explicitly states that [defendant] is not associated with any

 of the surgeons or hospitals on the locator”); AptusTech, 2020 WL 1190070, at *4 (finding venue

 improper including because defendant did not “hold these stores out as its own on its website,”

 by listing “the names of the independent retailers” where customers can find defendant’s goods).

        Best Buy offers for sale

                                                       Ex. J at

                     . The Apple-branded retail environment of the Apple Shop within Best Buy

 stores provides a defined space where Best Buy displays Apple products for sale within the Best

 Buy store. Best Buy also sells products of other manufacturers—including Apple competitors—

 within their own defined spaces within Best Buy stores. Ex. M (Tyler location offers “Windows

 Store,” “Samsung Experience Shop,” “LG Experience,” and “Sony Experience” in addition to

 “Apple Shop” and others); Ex. N (describing retail environment featuring products from many

 manufacturers, including in dedicated spaces). That Best Buy organizes its merchandise by

 manufacturer does not indicate that Best Buy is a place of business of those manufacturers.

 Indeed, third-party retailers commonly adopt this “store-within-a-store” model, designating areas

 within their stores as “shops” focused on a particular manufacturer’s products, without

 transforming the third-party’s store into a place of business of the manufacturer. See, e.g., Int’l

 Techs., 2018 WL 4963129, at *8 (finding that Samsung’s statements on its website that

 “experience Shops are ‘installed in’ Best Buy stores to showcase Samsung products to Best Buy


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 customers” was “not sufficient to establish that Samsung holds the Experience Shops out as its

 own place of business”). Such situations are different than in Cray, in which the defendant

 “places its name on a sign associated with or on the building itself.” 871 F.3d at 1363-64.

        Finally, ACT relies on statements from Best Buy’s and Apple’s websites about repairs of

 Apple products at Best Buy locations as an “Apple Authorized Service Provider.” Dkt. 1 ¶ 6; -

 687 Dkt. 1 ¶ 6. But nothing in those materials suggests that Best Buy’s stores are places of

 business of Apple. On the contrary, the quoted excerpts from Best Buy’s website seek to allay

 concerns arising from the fact that these repairs are done by “our” (i.e., Best Buy) employees,

 and are not occurring at an Apple location. Dkt. 1 ¶ 6 (Best Buy’s website: “Our Agents are

 Apple-trained, so you can trust us with all your Apple devices, no matter where you bought

 them.”); id. (Best Buy’s website: “Our Geek Squad® Agents are Apple-trained, so you can trust

 us with all your Apple devices at any Best Buy store near you.”); -687 Dkt. 1 ¶ 6 (same).

        Likewise, Apple’s website ensures customers that Best Buy provides Apple-quality repair

 services. Dkt. 1 ¶ 9 (Apple’s website: “[Y]ou get the same professionalism and quality of repair

 you’d expect from Apple.”); -687 Dkt. 1 ¶ 9 (same). Those assurances would be unnecessary if

 these Best Buy locations were a place of business of Apple. Moreover, these allegations that

 clearly recognize Best Buy employees are providing repair services contrast sharply with AGIS

 Software Development LLC v. Google LLC, in which the court found venue because, among

 other things, Google held out itself as “the provider of repairs” and the third party performing the

 repairs was “acting behind the scenes” such that customers were “not even aware” of its

 existence. No. 19-cv-00361-JRG, 2022 WL 1511757, at *9 (E.D. Tex. May 12, 2022).

        Best Buy’s provision of “Apple-certified” repairs using Best Buy employees who are

 “Apple-trained and use genuine Apple parts” is not a basis for venue. Dkt. 1 ¶¶ 6, 8; -687 Dkt. 1

 ¶¶ 6, 8. The Federal Circuit has squarely rejected that argument. See In re Volkswagen Grp. of


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 Am., Inc., 28 F.4th 1203, 1211-12 (Fed. Cir. 2022) (rejecting argument that car dealerships were

 place of business of distributer because warranty and maintenance work was consistent with

 distributor’s quality specifications and performed by distributor-trained employees).

                        (d)     Apple’s places of business in other venues differ significantly from
                                Best Buy’s stores

        In Cray, the Federal Circuit recognized that courts may also consider “the nature and

 activity of the alleged place of business of the defendant in the district in comparison with that of

 other places of business of the defendant in other venues.” 871 F.3d at 1364. This factor, too,

 indicates that venue is improper. Outside the Eastern District of Texas, Apple has its own Apple

 Stores that operate completely differently from the Best Buy locations on which ACT’s venue

 allegations rest. For example, unlike Best Buy’s stores where customers can cross-shop products

 made by numerous different manufacturers, Apple Stores provide an experience focused

 exclusively on Apple products and related accessories. Dockendorf Decl. ¶ 15; see Ex. G §

                                                                                            , §§




                    . At Apple Stores, Apple leases the storefronts, owns the merchandise,

 controls the inventory, provides security, and sets the hours of operation—none of which Apple

 does at Best Buy’s stores. Dockendorf Decl. ¶ 15. Moreover, unlike at Best Buy, Apple

 employees at Apple Stores themselves complete sales transactions and repair Apple products.

 Id. The comparison with Apple Stores outside the District thus reveals that Best Buy’s stores in

 the District are “not really a place of business at all” for Apple. Cray, 871 F.3d at 1364.

                                             *     *    *

        Taken together, these factors confirm that Best Buy is a third-party retailer that operates

 its own stores independently from Apple. Best Buy’s locations in the District do not make venue

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 proper as to Apple, and ACT therefore has not carried its burden of establishing proper venue.

        B.      In the Alternative, ACT’s Consolidated Cases Should Be Transferred
                to the Northern District of California

        A defendant is entitled to transfer under 28 U.S.C. § 1404(a) if it shows (1) that the suit

 “might have been brought” in the proposed transferee district and (2) the “transferee venue is

 clearly more convenient” than the district in which suit was filed. Volkswagen II, 545 F.3d at

 312-15. In determining relative “convenience,” courts weigh the “private” and “public” interest

 factors, without separately weighing plaintiff’s choice of venue. Id. at 315, 318. Instead, the

 weighing of the factors “reflects the appropriate deference to which the plaintiff[’s] choice of

 venue is entitled.” Id. at 315. The private factors are: “(1) the relative ease of access to sources

 of proof; (2) the availability of compulsory process to secure the attendance of witnesses; (3) the

 cost of attendance for willing witnesses; and (4) all other practical problems that make trial of a

 case easy, expeditious, and inexpensive.” In re Volkswagen AG, 371 F.3d 201, 203 (5th Cir.

 2004) (citation omitted) (“Volkswagen I”). The public factors are: “(1) the administrative

 difficulties flowing from court congestion; (2) the local interest in having localized interests

 decided at home; (3) the familiarity of the forum with the law that will govern the case; and (4)

 the avoidance of unnecessary problems of conflict of laws or in the application of foreign law.”

 Id.; see also TikTok, 85 F.4th at 358. Here, the private and public factors strongly favor transfer

 of the consolidated cases to the Northern District of California.

                1.      ACT could have brought this suit in the Northern District of
                        California

        Apple is incorporated in California and maintains its headquarters in Cupertino,

 California—in the Northern District of California—and thus resides there. See Dkt. 1 ¶ 1; TC

 Heartland, 581 U.S. at 267-68, 270. Because any patent suit may be brought in the judicial

 district where the defendant resides, 28 U.S.C. § 1400(b), this case could have been brought in


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 the Northern District of California.

                2.      The Private Interest Factors Weigh Decisively in Favor of
                        Transfer

                        (a)    The relative ease of access to sources of proof strongly favors
                               transfer

        The relevant sources of proof from both parties as well as relevant third-parties are

 located almost entirely in California, primarily in the Northern District of California. “In patent

 infringement cases, the bulk of the relevant evidence usually comes from the accused infringer.

 Consequently, the place where the defendant’s documents are kept weighs in favor of transfer to

 that location.” In re Apple Inc., 979 F.3d 1332, 1340 (Fed. Cir. 2020) (“Apple I”) (focusing on

 the source code and records relating to the research, design, marketing, sales and financial

 information for the accused products) (quoting In re Genentech, Inc., 566 F.3d 1338, 1345 (Fed.

 Cir. 2009)). In weighing this factor as to electronic evidence, the Court must consider whether

 such evidence is equally accessible in either forum. TikTok, 85 F.4th at 359.

        Here, Apple’s sources of proof are overwhelmingly in and around Apple’s headquarters

 in the Northern District of California—and none are in this District. In re Google LLC, No.

 2021-178, 2021 WL 5292267, at *2 (Fed. Cir. Nov. 15, 2021) (“[T]he location of document

 custodians and location where documents are created and maintained . . . may bear on the ease of

 retrieval.”). Each of Apple’s teams working on the design, development, and integration of the

 functionality accused of infringing each of ACT’s six patents has its primary presence in

 California. See supra Section III.D Similarly, Apple’s IP Transaction team is in the Northern

 District of California. See Ankenbrandt Decl. ¶¶ 1, 5.



                                                                          . Supra Section III.D

        In contrast to the substantial presence of witnesses and documents in the Northern


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 District of California, none of Apple’s witnesses are located in the Eastern District of Texas. See

 supra Section III.D. Indeed, no current members of the relevant technical or transactional teams

 are even located in Texas. Id. Likewise, with the exception of non-unique records relating to the

 ’101 Functionality potentially accessible                                                  , Apple

 has not identified any relevant electronic or physical records in or accessible from Texas. Id.;

 see also TikTok, 85 F.4th at 359 (finding factor weighed in favor of transfer when evidence was

 accessible by employees in transferee forum, but not easily accessible in transferor forum).

        As to third-party sources of proof, those too are in California. Broadcom’s sources of

 proof and its employees with whom Apple has interacted relating to the accused Wi-Fi 6

 functionality are located in California—including in the Northern District of California, where

 Broadcom is headquartered. Ex. L; Shah Decl. ¶ 5. Likewise, Qualcomm’s sources of proof are

 in California, where Qualcomm is headquartered and where the employees with whom Apple has

 interacted relating to the accused 5G functionality are located. Ex. K; Dhanapal Decl. ¶ 5; see

 also In re Samsung Elecs. Co., 2 F.4th 1371, 1379 (Fed. Cir. 2021) (finding district court did not

 sufficiently credit the “identified sources of proof and likely witnesses” in the transferee forum,

 including “over a dozen third-party individuals with relevant and material information”).4

        Given the “wealth of important information” in and near the Northern District of

 California from Apple, third-parties Broadcom and Qualcomm, and even plaintiff ACT, whose

 managing director Deepak Sharma lives and works in the Northern District of California (see Ex.

 C at 20; Ex. E), this factor weighs heavily in favor of transfer to that District. Apple I, 979 F.3d



 4
   ACT’s Initial Disclosures identify four entities purportedly located in Texas that ACT claims
 “may possess knowledge regarding negotiations and licensing agreements with Apple.” But
 ACT does not identify any connection to the asserted patents, this suit, or the accused
 technology, merely speculating that some have, at best, some connection to Apple. Likewise,
 ACT identifies an inventor, not of any asserted patent, but of a publication that was allegedly
 cited by a third-party in another proceeding.
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 at 1340 (relying on Apple’s “significant amount of relevant information in NDCA, including the

 relevant source code, Apple records relating to the research and design of the accused products,

 and marketing, sales, and financial information for the accused products”).

                        (b)    Compulsory process over third-party witnesses strongly favors
                               transfer to the Northern District of California

        The compulsory process factor strongly favors transfer because the Northern District of

 California will have absolute subpoena power over any Broadcom and Qualcomm employees.

 See Fed. R. Civ. P. 45(c) (granting compulsory process over non-party witnesses within “the

 state where” the person resides, works, or regularly transacts business in person). Broadcom and

 Qualcomm, which respectively supply chipsets that support the ’891 patent’s accused Wi-Fi 6

 and 5G functionality, are headquartered in California and their likely witnesses are in California.

 Exs. L, K; Shah Decl. ¶ 5

                                             ; Dhanapal Decl. ¶ 5

                                                                                          . Thus,

 the relevant Broadcom and Qualcomm witnesses are within the Northern District of California’s

 subpoena power and outside this District’s compulsory power. See Fed. R. Civ. P. 45(c); Exs. O,

 P. Apple has no reason to believe that these California-based third-party witnesses would be

 willing to appear in Texas. This factor strongly favors transfer when, as here, a substantial

 number of non-willing witnesses reside in the transferee forum, and none resides in the transferor

 forum. See Genentech, 566 F.3d at 1345; In re Apple, Inc., 581 F. App’x 886, 889 (Fed. Cir.

 2014) (transfer strongly favored because “more third-party witnesses reside within the transferee

 venue than reside in the transferor venue”); In re Hulu, LLC, No. 2021-142, 2021 WL 3278194,

 at *4 (Fed. Cir. Aug. 2, 2021) (finding this factor nearly dispositive when relevant third-party

 witnesses are overwhelmingly within only transferee venue’s subpoena power).



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                        (c)     Cost of attendance for willing witnesses strongly favors transfer

        The convenience and cost of witness attendance is the most important factor, and this

 consideration is no less important for party witnesses. See In re Juniper Networks, Inc., 14 F.4th

 1313, 1319-20 (Fed. Cir. 2021) (“[T]he convenience-to-the-witness factor is [not] attenuated

 when the witnesses are employees of the party calling them.”) (citing Hulu, 2021 WL 3278194,

 at *5). This factor weighs strongly in favor of transfer when, as here, “there are several

 witnesses located in the transferee forum and none in the transferor forum.” See In re Apple Inc.,

 No. 2021-181, 2021 WL 5291804, at *3 (Fed. Cir. Nov. 15, 2021) (“Apple II”).

        Apple’s California-based witnesses with relevant information critical to its non-

 infringement defenses and the calculation of damages would each be required to travel over

 1,500 miles to testify in the Eastern District of Texas. Exs. O, P; see also supra Section III.D.

 The inconvenience of a trial in this District is not diminished because these individuals are Apple

 employees. If transfer were denied, they would experience substantial expense and disruption in

 their professional and personal lives, resulting in the precise inconveniences § 1404(a) was

 designed to address. See Apple II, 2021 WL 5291804, at *3; Volkswagen I, 371 F.3d at 204-05;

 Juniper, 14 F.4th at 1319 (concluding district court erred in attaching “little weight to the

 evidence regarding the party witnesses”). Likewise, ACT’s witness, Mr. Sharma, would need to

 travel over 1,800 miles to testify in the Eastern District of Texas. Ex. N. But if this case were

 litigated in the Northern District of California, Apple’s employees and Mr. Sharma would only

 need to drive a short distance from Cupertino to the courthouse, substantially minimizing

 disruption to their personal and professional lives. See Ex. Q; TikTok, 85 F.4th at 361

 (explaining “it is more convenient for witnesses to testify at home”). The Northern District of

 California is also more convenient for any Apple witnesses traveling from San Diego. Ex. R.

        The convenience of these witnesses in the Northern District of California weighs strongly


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 in favor of transfer. See Juniper, 14 F.4th at 1319 (a court may not discount the convenience of a

 witness based on a “categorical assumption” regarding the likelihood of testifying).

                        (d)     Any remaining “practical problems” are neutral

        The “practical problems” catch-all factor is neutral because no relevant “problems” of

 judicial economy exist. Any progress in these cases is minimal and, regardless, irrelevant to this

 analysis. See In re TracFone Wireless, Inc., 848 F. App’x 899, 901 (Fed. Cir. 2021).

                3.      Public Factors Weigh Decisively in Favor of Transfer

                        (a)     The local interest factor favors transfer

        The Northern District of California has a greater interest in the outcome of this case than

 the Eastern District of Texas. See In re DISH Network, LLC, No. 2021-182, 2021 WL 4911981,

 at *3 (Fed. Cir. Oct. 21, 2021) (comparing the relative interest in the transferee and transferor

 forums) (“DISH”). Apple’s headquarters, its principal place of business, and critically the events

 that gave rise to this suit—including the design, development, and incorporation of the accused

 functionalities (supra Section III.D)—occurred in the transferee forum. See Clarke, 94 F.4th at

 511 (stressing that the court should consider “the significant connections between a particular

 venue and the events that gave rise to a suit”) (quotation omitted); Samsung, 2 F.4th at 1380

 (finding factor weighed in favor of transfer when the “relevant events leading to the infringement

 claims here took place largely in Northern California, and not at all in the [transferor forum]”).

 Thus, “because the accused products were designed, developed and tested in [the Northern

 District of California]; and because the lawsuit calls into question the work and reputation of

 several individuals residing in [the Northern District of California], this factor weighs in favor of

 transfer.” Apple I, 979 F.3d at 1345 (internal citation omitted) see supra § III.D.

        While Apple has ten employees who part-time work at Best Buy locations in the District,

 their responsibilities relate to educating Best Buy employees and customers about Apple’s



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 products. See Calhoun Jemmings Decl.¶¶ 5-7. These activities are far removed from the

 conduct giving rise to this infringement action, such as the accused functionality’s design and

 development, which occurred primarily in California. See Apple II, 2021 WL 5291804, at *5

 (error to rely on Apple’s “general presence in the transferor forum, not the locus of the events

 that gave rise to the dispute”) (citation omitted); DISH, 2021 WL 4911981, at *3 (movant’s

 facilities in district were “insubstantial compared to [the transferee forum’s] significant

 connection to the design and development of the accused features”). Similarly, Apple’s

 nationwide sales of accused products is irrelevant because contacts common across districts

 cannot support any “localized” interest. Clarke, 94 F.4th at 510; Samsung, 2 F.4th at 1380.

        Moreover, ACT’s own connection to the Northern District of California—including the

 formation of its parent company and the presence of its managing director there—bolsters the

 transferee forum’s interest in the outcome of this case. Ex. C at 20; Ex. E. ACT’s formation in

 the Eastern District of Texas does not outweigh ACT’s and Apple’s substantial ties to the

 Northern District of California, particularly because ACT’s formation in this District appears to

 be designed for the sole purpose of creating jurisdiction and venue rather than providing genuine

 ties to the forum. See In re Juniper, 14 F.4th at 1320-21 (granting mandamus to direct transfer

 where plaintiff had only a litigation-driven pre-filing presence in the District); In re Samsung, 2

 F.4th at 1377 (“[T]he Supreme Court and [the Federal Circuit] have repeatedly assessed the

 propriety of venue by disregarding manipulative activities of the parties.”).

        Given the balance of interests between the Northern District of California and the Eastern

 District of Texas, this factor weighs in favor of transfer.

                        (b)     Familiarity with governing law and conflicts of law factors are
                                neutral

        Because this case is governed by federal patent law, the last two public interest factors

 are neutral. See In re TS Tech. USA Corp., 551 F.3d 1315, 1320-21 (Fed. Cir. 2008) (en banc).

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                        (c)     The court congestion factor is neutral

        The court congestion factor is “the ‘most speculative’ of the factors bearing on the

 transfer decision.” Juniper, 14 F.4th at 1322 (quotation omitted). Over the past five years, this

 District’s median time to trial has been approximately 8 months quicker than the Northern

 District of California. Exs. S, T. However, this slightly faster time-to-trial is not consequential

 given that ACT is a non-practicing entity. In re Google, 58 F.4th 1379, 1383 (Fed. Cir. 2023)

 (finding court congestion neutral because patent owner “is not engaged in product competition in

 the marketplace and is not threatened in the market in a way that, in other cases, might add

 urgency to case resolution). Accordingly, this factor is neutral.

                                             *     *    *

        As set forth above, the private- and public-interest factors—including the ease of access

 to the sources of proof, compulsory process, convenience to willing witnesses, and local interest–

 weigh strongly in favor of transfer to the Northern District of California. The only connection

 this suit has to the Eastern District of Texas is ACT’s formation here as an LLC—a fact that

 should be given little or no weight where it was engineered to manufacture a venue connection to

 Texas for Mr. Sharma, who resides in and conducts business from California. See e.g., Juniper,

 14 F.4th at 1320-21. Even if the Court credits ACT’s presence in this District, such connection

 is insufficient to defeat transfer when the Northern District of California is more convenient for

 nearly all witnesses, and when the bulk of the relevant documents and evidence is located

 there—and none are in this District. See Apple I, 979 F.3d at 1340 (explaining “the movant need

 not show that all relevant documents are located in the transferee venue”).

 VI.    CONCLUSION

        For the foregoing reasons, Apple respectfully submits that these consolidated cases

 should be dismissed or, in the alternative, transferred to the Northern District of California.


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  Dated: October 21, 2024                  Respectfully submitted,


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                                       CERTIFICATE OF SERVICE

        The undersigned hereby certifies that a true and correct copy of the above and foregoing

 document has been served on October 21, 2024, to all counsel of record via email.

                                                        /s/ Melissa R. Smith
                                                        Melissa R. Smith



                                   CERTIFICATE OF CONFERENCE

        Pursuant to Local Rule CV-7(h), counsel for Defendant met and conferred with counsel

 for Plaintiff, and counsel for Plaintiff indicated that Plaintiff is opposed to the relief sought by

 this Motion.

                                                        /s/ Melissa R. Smith
                                                        Melissa R. Smith




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